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  May 10, 2024
  Via ECF
  Honorable Margo K. Brodie
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

                        Re: United States v. Reyes, 21-cv-05578 (MKB)

  Dear Chief Judge Brodie:
          I represent the Reyes defendants. On May 3rd, the court conducted a telephone
  conference to discuss the issues raised in the letter briefs regarding and, at the conclusion,
  directed the undersigned to provide authority, if available, for the proposition that the court has
  discretion to impose a lesser penalty than 6% on top of the FBAR penalty of 50% of the value of
  the account as to which an FBAR penalty is imposed. I remind the court that after payment of
  taxes owed, and penalties already paid, and further FBAR penalties and prejudgment interest and
  an additional 6% penalty, the Reyeses would be left with about 30% of the money from the
  Nicaraguan funds. This would be a devastating hit for the Reyeses, and a manifest injustice. As
  discussed below, the Reyeses should not be punished as though they are hardened criminals or
  otherwise evil-doers. Imposing the full measure of penalties that the United States seeks is, the
  Reyeses submit, violative of their Eighth Amendment rights. Dr. Reyes, at age 91, is still
  working, at little to no pay, serving downtrodden communities that simply cannot pay for
  medical care. He has not built up a nest-egg by caring for the rich since immigrating to America.
  Rather, he had relied on the money that was left to him by his parents, what was left after the
  Communists stole the rest of their assets and killed family members. Even though the United
  States has now been made whole by the payment of the taxes owed on the money (as has the
  State of New York), the United States is seeking not just an additional pound of flesh, but to sap
  the Reyeses of their lifeblood. It is plainly wrong.
          In United States v. Hughes, 2023 U.S. Dist. LEXIS 36975 (N.D. Cal., March 6, 2023),
  the court noted that after a bench trial and a finding of a willful violation (under a recklessness
  standard) of the FBAR reporting requirements, the court had remanded the matter for
  recalculation of penalties, also instructing the United States to consider whether mitigation was
  warranted under the circumstances. The case returned to after remand, and the Hughes court
  noted that, “Based on guidance in the [Internal Revenue Manual], the IRS determined that
  Hughes is eligible for mitigation because the following conditions are satisfied: (1) Hughes has
  no history of relevant criminal convictions or previous FBAR penalty assessments; (2) no money

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  passing through the relevant accounts ‘was from an illegal source or used to further a criminal
  purpose’; (3) Hughes cooperated during the IRS's investigation; and (4) no penalty was assessed
  against Hughes for fraudulently underreporting her taxes related to foreign accounts for the years
  at issue.” The Reyes defendants respectfully submit that such a remand should be directed here,
  as they obviously do not have a history of criminal activity, the money that was in the foreign
  bank was deposited there by Dr. Juan Reyes’s parents in order to keep it from being stolen by the
  Communists that had taken control over Nicaragua, the Reyeses have fully cooperated, and there
  was manifestly no fraud.
          As should this court, the Hughes court declined to impose a 6% penalty on top of the
  FBAR penalty, stating, “the United States has offered no evidence of the applicable Treasury
  rates for the purpose of assessing interest under § 3717(a)(1), nor of any action by the Secretary
  of the Treasury any other ‘head of an executive . . . agency’ to set late payment penalties at the
  maximum six percent rate (or at any lower rate) permitted by § 3717(e)(2). The United States
  therefore has not satisfied its burden of proof to show that the one percent interest rate and six
  percent penalty rate it seeks to apply are valid.” (Emphasis added). Here, the Reyeses
  respectfully ask that this court reach the same conclusion, as evidence has not been presented,
  such as an affidavit from any executive of Treasury as to the amount imposed.
         More fundamentally, however, the Reyeses now respectfully submit that, as did the
  Hughes court, this court should remand this matter, with a directive that the United States
  consider whether mitigation is warranted in light of the factors noted above – viz., that the
  Reyeses were not engaged in any kind of criminal enterprise; they were not laundering money or
  hiding moneys of criminals; they did not commit fraud. There was no criminal mens rea.
         These issues were addressed closer to home, in the U.S. District Court for the District of
  Connecticut, in the case of United States v. Garrity, 2019 U.S. Dist. LEXIS 32404 (D. Conn.,
  Feb. 28, 2019), wherein the court noted that it had conducted a six-day jury trial – that is, the
  case was not decided merely on summary judgment papers – and it was found that the maximum
  penalty was warranted, even in the face of an Eighth Amendment challenge. But the facts
  warranting such maximum penalty show, by contrast with the case at bar, that the penalties
  imposed herein would indeed be confiscatory and violative of the Eighth Amendment. The
  Garrity court stated:
         Courts assessing the proportionality of a fine under the Eighth Amendment are guided by
         four factors "distilled" from the Supreme Court's analysis in United States v. Bajakajian,
         524 U.S. 321, 118 S. Ct. 2028, 141 L. Ed. 2d 314 (1998):
                 [1] the essence of the crime of the defendant and its relation to other criminal
                 activity, [2] whether the defendant fit[s] into the class of persons for [*20] whom
                 the statute was principally designed, [3] the maximum sentence and fine that could
                 have been imposed, and [4] the nature of the harm caused by the defendant's
                 conduct.
                 United States v. Castello, 611 F.3d 116, 120 (2d Cir. 2010).
                                                 ***
         The [Garrity] Defendants have … offered no explanation for why Mr. Garrity opened the
         foreign account, nor have they identified the source of the money in it. Further, although
         the Government was not required to prove that Mr. Garrity engaged in other illicit
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         activity related to his foreign account, there was evidence at the trial that, at the very
         least, raises serious questions about his and his sons' activity related to the account. For
         example, the account was opened in Liechtenstein under the name of a trust known as a
         Liechtenstein Stiftung. In 2008, Liechtenstein was one of three countries identified as tax
         havens by the Organization [*21] for Economic Development and Cooperation. (Citation
         omitted). The Joint Committee on Taxation reported that U.S. citizens frequently utilized
         trust accounts in Liechtenstein to shield their assets from discovery by authorities and
         evade taxes. (Citation omitted).
         There was also evidence that Mr. Garrity and his sons made efforts to keep the account's
         existence a secret. Two of his three sons who testified at trial invoked their Fifth
         Amendment rights as to all questions about the account, including questions about a trip
         to Liechtenstein to make large cash withdrawals from the account. The third son testified
         that, upon flying home from that trip, he gave his cash to his brothers out of concern for
         U.S. currency transaction reporting requirements, only to recover the cash once they
         cleared customs. (See ECF No. 196-1 at 2-5.) While the jury was not required to make
         any findings about the suspicious efforts to maintain the secrecy of the account, the
         Defendants have not borne their [*22] burden of showing that the violation had nothing
         to do with criminal activity. Contrast Bajakajian, 524 U.S. at 337-38 ("[Bajakajian's]
         violation was unrelated to any other illegal activities. The money was the proceeds of
         legal activity and was to be used to repay a lawful debt."). … Mr. Garrity never disclosed
         the account, and the absence of criminal charges arising from his violation may owe
         largely to his success in concealing it during his lifetime. That success also likely
         weakened the Government's ability to investigate and uncover potentially unlawful
         activity related to the account. All of this suggests that Mr. Garrity's conduct in this case
         went to the core purpose of the FBAR filing requirement under the BSA. See California
         Bankers Ass'n, 416 U.S. at 76 ("[T]he recordkeeping and reporting requirements of the
         Bank Secrecy Act are focused [*23] in large part on the acquisition of information to
         assist in the enforcement of criminal laws.").
         This case is thus unlike Bajakajian, where, after a bench trial, the district court expressly
         "found that the funds were not connected to any other crime and that respondent was
         transporting the money to repay a lawful debt." Id. There was no similar finding in this
         case about the source of the money in Mr. Garrity's account or its intended purpose, and,
         as suggested above, the evidence would not have supported such a finding.
          In the case at bar, the Reyeses’ money was not connected to any crime whatsoever. They
  were not engaged in fraudulent tax evasion, as they did not believe that money entrusted to Dr.
  Reyes, and then titled over to Dr. Reyes and his wife Catherine, was subject to U.S. taxes. The
  money was transferred out of Nicaragua simply so that the Communists wouldn’t seize it, never
  expecting, of course, that the United States would. As the Garrity court noted, “[t]he purpose of
  the [Bank Secrecy Act] is ‘to require certain reports or records where they have a high degree of
  usefulness in criminal, tax, or regulatory investigations or proceedings . . . ." 31 U.S.C.A. § 5311.
  The FBAR penalty targets individuals who fail to disclose their interest in foreign accounts,
  preventing the Government from identifying and investigating possible tax evasion or criminal
  activity. As explained above, Mr. Garrity fits squarely into the class of persons for whom the
  BSA was designed.” In contrast, the Reyeses fit squarely outside the class of persons for whom
  the BSA was designed. They had no criminal intent.
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           The Reyeses respectfully request that this court remand the matter to the United States so
  that it can consider mitigation, in light of the above. Failing that, the Reyeses note their objection
  to the imposition of such confiscatory penalties, as violative of their Eighth Amendment rights,
  and submit that, for the same reasons that the District of California declined to impose an
  additional 6% penalty on top of other penalties, this court do likewise.
                                                                  Respectfully submitted,

                                                                 MAZZOLA LINDSTROM LLP


                                                                  Richard E. Lerner

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